           Case 2:15-cr-00053-RAJ      Document 148    Filed 07/20/15   Page 1 of 1




 1                                                              Hon. Richard A. Jones
 2
 3
 4
 5
                        UNITED STATES DISTRICT COURT FOR THE
 6                        WESTERN DISTRICT OF WASHINGTON
 7                                  AT SEATTLE
 8
 9   UNITED STATES OF AMERICA,                             NO. CR15-053RAJ
10                        Plaintiff,
11                                                         ORDER CONTINUING
     v.                                                    PRETRIAL MOTIONS
12                                                         DEADLINE
13   CALVIN DEWAYNE DAVIS,
14                       Defendant.
15
16
17         THE COURT, having considered the defense motion to continue the pretrial motions

18 cutoff date, and good cause having been shown,
19        IT IS ORDERED that Defendant’s Motion (Dkt. #141) is GRANTED. All pretrial

20 motions as to Defendant Calvin Dewayne Davis, including motions in limine, shall be filed
21 no later than July 24, 2015.
22         DATED this 20th day of July, 2015.

23
24
                                                  A
25                                                The Honorable Richard A. Jones
                                                  United States District Judge
26
27
28
     ORDER CONTINUING PRETRIAL MOTIONS DEADLINE – 1                                »
     CR15-053 RAJ - 1
